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                        5   Attorneys for Defendant,
                            ELECTRONIC CHROME &
                        6   GRINDING
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                        9                       UNITED STATES DISTRICT COURT
                       10                     CENTRAL DISTRICT OF CALIFORNIA
                       11

                       12   BASF CORPORATION; et al.                    Case No. 2:20-cv-02586-GW(Ex)
HAMRICK & EVANS, LLP




                       13                           Plaintiffs,
                                                                        JOINT STATUS/SCHEDULING
                       14   vs.                                         REPORT
                       15   CAL-TRON PLATING, INC.; et al.
                       16                           Defendant.          Status Conference:
                       17                                               Date:    January 20, 2022
                                                                        Time: 8:30 a.m.
                       18
                                                                        Place: 350 W. 1st Street
                       19                                                        Courtroom 9D, 9th Floor
                                                                                 Los Angeles, CA 90012
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                                                                        Judge: Hon. George H. Wu
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                                                    JOINT STATUS/SCHEDULING REPORT
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                        1         Pursuant to the Court’s Order of December 14, 2021 [Dk. No. 125], Counsel
                        2   for plaintiffs BASF Corporation et al. (“Plaintiffs’) and for the undersigned
                        3   defendants (“Defendants”) (Plaintiffs and Defendants collectively, “the Parties”)
                        4   hereby submit this Joint Status/Scheduling Report.
                        5         As previously reported to the Court, the Parties have been working to devise a
                        6   scheduling order, that does not include bifurcation, to present to the Court for its
                        7   consideration. However, they have not yet completed those discussions.
                        8   Specifically, the Parties are currently focused on determining whether they can
                        9   reach agreement on a schedule under which they engage in discovery, in the first
                       10   half of 2022, focused on obtaining the information, including but not limited to
                       11   information concerning Plaintiffs’ response costs, that the Parties believe they need
                       12   to put themselves in a position to engage in meaningful settlement discussions
HAMRICK & EVANS, LLP




                       13   sometime in the summer of 2022. The Parties have met and conferred over the past
                       14   several weeks, including, most recently, on January 17, 2022. This focused
                       15   discovery proposal, however, still requires approval by various Parties. Accordingly,
                       16   the Parties respectfully request that the Court continue the scheduling conference
                       17   currently scheduled for January 20, 2022, for at least an additional three (3) weeks
                       18   in order for the Parties to complete an agreement for discovery on the mutually
                       19   agreeable terms discussed above. The Parties propose that a joint status report shall
                       20   be filed on February 8, 2022, and the scheduling conference set for February 10,
                       21   2022, or any dates thereafter that the Court deems appropriate.
                       22    DATED: January 18, 2022                LATHROP GPM LLP
                       23

                       24                                     By: /s/ Nancy Sher Cohen
                       25                                           Nancy Sher Cohen
                       26                                           Ronald A. Valenzuela
                                                                    Attorneys for Plaintiffs
                       27
                                         [SIGNATURE BLOCKS CONTINUE ON NEXT PAGE]
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                                                      JOINT STATUS/SCHEDULING REPORT
                       Case 2:20-cv-02586-GW-E Document 126 Filed 01/18/22 Page 3 of 4 Page ID #:743




                        1    DATED: January 18, 2022           VAN NESS FELDMAN LLP
                        2

                        3                                 By: /s/ Brian L. Zagon
                        4                                      Brian L. Zagon
                        5                                      Attorney for Defendants
                                                               Cal-Tron Plating, Inc.
                        6

                        7    DATED: January 18, 2022           THE CRONIN LAW GROUP
                        8

                        9                                 By: /s/ Timothy C. Cronin
                       10                                      Timothy C. Cronin
                       11                                      Attorney for Defendant
                                                               Mid-West Fabricating Co.
                       12
HAMRICK & EVANS, LLP




                       13

                       14    DATED: January 18, 2022           HAMRICK & EVANS LLP
                       15

                       16                                 By: /s/ Thomas P. Schmidt
                       17                                      Thomas P. Schmidt
                       18                                      Attorney for Defendant
                                                               Electronic Chrome & Grinding Co., Inc.
                       19

                       20

                       21    DATED: January 18, 2022           VAN RIPER LAW
                       22

                       23                                 By: /s/ David Van Riper
                       24                                      David Van Riper
                       25                                      Attorney for Defendant
                                                               Santa Fe Rubber Products, Inc.
                       26
                       27
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                                                   JOINT STATUS/SCHEDULING REPORT
                       Case 2:20-cv-02586-GW-E Document 126 Filed 01/18/22 Page 4 of 4 Page ID #:744




                        1    DATED: January 18, 2022                 WACTOR & WICK LLP
                        2

                        3                                      By:
                                                                     /s/ William D. Wick
                        4                                            William D. Wick
                        5                                            Attorney for Defendant
                                                                     Halliburton Energy Services, Inc.
                        6

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                        9
                                CERTIFICATION OF CONCURRENCE FROM ALL SIGNATORIES
                       10
                                  I, Thomas P. Schmidt, Esq., am the ECF user whose ID and password are
                       11
                            being used to file this Joint Status Report. In compliance with C.D. Cal. Civ. L.R.
                       12
                            5-4.3.4(a)(2)(i),
                             DATED: September I hereby, 2021
                                                        attest that I have
                                                                        THEobtained
                                                                              CRONINthe concurrence
                                                                                        LAW GROUP   of each
HAMRICK & EVANS, LLP




                       13
                            signatory
                             By:      to this document.              /s/ Alan R. Johnston
                       14
                                                                     Alan R. Johnston
                       15                                            Attorney for/s/Defendant
                                                                                       Thomas
                                                                     Mid-West Fabricating   Co.P. Schmidt
                       16                                                           Thomas P. Schmidt
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                                                       JOINT STATUS/SCHEDULING REPORT
